     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24       Page 1 of 50 Page ID
                                           #:301


1

2
      Christina Taft                                            11/06/2024
3     Plaintiff in Propria Persona
      1700 Ala Moana Blvd Apt 2301                                  AP
4     Honolulu, Hawaii 96815
      Phone: 0623441766
5     Ceo.Taft@Rescue-Social.com

6

7
                        UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
8

9                                                Case No.: 5:24-cv-01930-TJH-DTB
      CHRISTINA TAFT
10                                               [Hon. Terry J. Hatter, Jr.]
11                     PLAINTIFF,
12    VS.
                                                 Per L.R. 7-5, Brief with
13
                                                 Memorandum in Support of
      PAUL BARRESI, ADAM R
14                                               Plaintiff’s Motion to Amend
                                                 Complaint and Continued Injunction
15    WALDMAN, AND DOES 1-10,
                                                 Requests With Points and Authorities
16
      INCLUSIVE,
17

18                           DEFENDANTS.
19

20

21

22

23

24

25

26

27

28    PER L.R. 7-5, BRIEF WITH MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO AMEND
      COMPLAINT AND CONTINUED INJUNCTION REQUESTS WITH POINTS AND AUTHORITIES - 1
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24      Page 2 of 50 Page ID
                                           #:302


1

2                                 TABLE OF CONTENTS
3
      I. Factual Background……………………………………………….………….2
4     Original Filing……………………………………………….…………….………2
5     Category………………………………………………………………………..….2
      Witness Declarations………………………………………………………………2
6
      Witnesses to Urgency of Violations and Predicate Acts………………………..….2
7
         • Witness Tampering and Obstruction of Justice…………………………….. 2
8        • Destruction, Alteration, or Falsification of Records ……………………..…3
         • Interstate Communications………………………………………….……….3
9
         • Anti-Racketeering Elements (Civil RICO Act)……………………..……….3
10

11
      Mike McCormick’s Declaration ……………………………………………...……3
12

13       •   Witness Interference…………………………………………………………3
         •   Coercion and Intimidation…………………………………………...………3
14
         •   Intimidation of Witnesses and Individuals Perceived as
15
             Opponents……………………………………………………………………4
16       •   Threatening Communications ………………………………………………4
17       •   Dangerous Conduct……………………………………………………….…4
18
         •   Impact on Cases………………………………………………………..……4
         •   Exploitation of Records…………………………..………………………….4
19

20

21
      Key Witnesses and Plaintiff Needing Urgent Protections…………………………5

22
      Michael Kountz’s Declaration………………………………………………….….5

23    Coercion, Fear of Reprisal and Manipulation…………………………………… 6
24    II. Legal Standard……………………………………………………...………6-7
25    III. Arguments Supporting Amendment ………………………………………7
26    Timeliness of Motion………………………………………………………………7
27    Judicial Efficiency…………………………………………………………………7
28    PER L.R. 7-5, BRIEF WITH MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO AMEND
      COMPLAINT AND CONTINUED INJUNCTION REQUESTS WITH POINTS AND AUTHORITIES - 2
     Case 5:24-cv-01930-TJH-DTB                     Document 18 Filed 11/06/24                      Page 3 of 50 Page ID
                                                          #:303


1     Rule 15(a)(2) combined with FRCP 1 and FRCP 8……………………………..7-8
2     Adequate Notice and Clarification of Claims……………………………..………8
3
      Lack of Prior Amendments……………………………………………..…………8
4
      Local Rules Favor Substantive Adjudication……………………………………8-9
5
      Federal Protection of Fundamental Rights…………………………………………9
6
      Systematic Pattern of Violations…………………………………………………...9
7
      Detailed Constitutional Deprivations………………………….…………………...9
8
      Denial of Access to Justice……………………………………………….………...9
9
      Witness Protection and Justice………………………………………………….9-10
10
      Due Process Violations § 1983……………………………………………………10
11
      Rule 8(a)..................................................................................................................10
12

13
      Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007)…………………………...10

14
      Ashcroft v. Iqbal, 556 U.S. 662 (2009) ..................................................................10

15    Amendments Pertaining to Civil Rights and RICO Claims……….………….10
16    Consolidation Arguments of Actions in Violations of Civil Rights Act………….10
17    Civil Rights Violations Under 42 U.S.C. § 1983…………………………...…10-11
18        •    Civil Action for Deprivation of Rights (42 U.S.C. § 1983 & 18 U.S.C. §
19             242………………………………………………………………………10-11
20

21    Claims of Systematic Rights Violations…………………………………….….…11
      Protection of Rights to Petition the Government………………………………….11
22
      The Civil Rights Act under § 1983……………………………………………11-12
23
      Substantiation of Due Process Violations…………………………………..….…12
24    Civil Conspiracy to Commit Torts…………………………………………….12-13
25

26

27

28    PER L.R. 7-5, BRIEF WITH MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO AMEND
      COMPLAINT AND CONTINUED INJUNCTION REQUESTS WITH POINTS AND AUTHORITIES - 3
     Case 5:24-cv-01930-TJH-DTB        Document 18 Filed 11/06/24         Page 4 of 50 Page ID
                                             #:304


1     Consolidation Arguments of Predicate Acts in Furtherance of
2     Racketeering…………………………………………………………………….. 13
        • Witness and Victim Tampering (18 U.S.C. § 1512) ……………..………..13
3
        • Destruction, Alteration, or Falsification of Records (18 U.S.C. §
4
           1519)……………………………………………………………………..…13
5       • Interstate Communications Threats (18 U.S.C. § 875) …………….…….. 13
6       • Interstate Travel in Aid of Racketeering (18 U.S.C. § 1952) ………..….…13

7
      Systematic Witness Intimidation and Obstruction of Justice…………………..…14
8
         • RICO violation under 18 U.S.C. § 1961(5)……………………….………..14
9     Interference and Manipulation of Key Evidence………………………..………...14
10    Pattern of Racketeering Activity Demonstrating Continuity and Relatedness……15
11    Multiple Victims, Relationship and Continuity of Acts………………..……. 15-16
         • Coercion Law of New York (Penal Law Section 135.60-65) …………15-16
12

13
      Infringement of Civil Rights and Denial of Equal Protection………………,,,…..16
14    Private Right of Action Under RICO (18 U.S.C. § 1964).....,,,,,,,,,,,,,,,,,,,,,,......16-17
15    Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048 (9th Cir. 2003)…………17
      Importance of Defining Elements of Racketeering ………,…………,,,,,,,,,…..…17
16
      Judicial Responsibility to Protect Interstate Commerce …………………..….17-18
17

18    Arguments for Amendments in Support of Interest of Justice ………………18
19    Nature of the Conduct and Criminal Behavior……………………………………18
      Consistency in Participants and Victims………………………………………18-19
20
      Integrity of the Judicial Process with Witness Statements………………..………19
21
         • 271 F.3d 1180 (9th Cir. 2001)…………………………….………….……19
22    Judicial Responsibility to Address Threats……………………………………19-20
23    Ongoing Activities and Deterrence of Future Criminal Conduct ……………...…20
24
      Judicial Responsibility to Protect the Process…………………………………20-21

25

26

27

28    PER L.R. 7-5, BRIEF WITH MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO AMEND
      COMPLAINT AND CONTINUED INJUNCTION REQUESTS WITH POINTS AND AUTHORITIES - 4
     Case 5:24-cv-01930-TJH-DTB              Document 18 Filed 11/06/24               Page 5 of 50 Page ID
                                                   #:305


1

2     CONCLUSION…………………………………………………………..………21
3
      Grounds for Granting Leave to Amend………………………………….….….…21
        • Alignment with Federal Rule of Civil Procedure 15(a)(2)...........................21
4
        • Promotion of Justice Through Amendment ………………………….……21
5

6     Legal Justifications Supporting Amendment……………………………..………21
7       • Judicial Discretion in Favor of Amendment ………………………………21
        • Clarification and Consistency of Claims ………………………………….22
8
        • Sufficiency of Civil Rights Claims Under 42 U.S.C. § 1983 ……….….…22
9

10    Public Policy Supporting Civil Rights and Anti-Racketeering Enforcement……..22
11      • Advancing Judicial Economy and Preventing Fragmentation of Claims ….22
        • Ensuring Equitable Treatment and Avoiding Procedural Prejudice……22-23
12

13
      Fulfillment of Pleading Standards Under Rule 8(a)………………………………23
14       • Plausibility and Specificity Requirements for Federal Claims ……………23

15       • Judicial Efficiency through Consolidation of Claims …………………..…23
         • Timeliness and Lack of Undue Delay ……………………….………….…23
16
         • Absence of Prejudice to Defendants ………………………………...…23-24
17
         • Proper Articulation of Legal Theories and Factual Bases ………….……..24
18

19    Federal Rule of Civil Procedure 15(a) – Amendments Before Trial…….……….24
      Federal Rule of Civil Procedure 8(a) – General Rules of Pleading………………24
20
      Civil Rights and Elective Franchise Jurisdiction……………………………….…24
21
      Protection of Court Access……………………………………….…………….…24
22    Conley v. Gibson, 355 U.S. 41 (1957)................................................................... 25
23    Prayer for Relief………………………………………………………………..…25
24

25

26

27

28    PER L.R. 7-5, BRIEF WITH MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO AMEND
      COMPLAINT AND CONTINUED INJUNCTION REQUESTS WITH POINTS AND AUTHORITIES - 5
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24      Page 6 of 50 Page ID
                                           #:306


1

2

3

4                            STATUTES AND AUTHORITIES
5
      Federal Rule of Civil Procedure 15(a)(2)………………………………1, 6, 7, 8, 21
6

7
      Rule 1 of the Federal Rules of Civil Procedure……………………………………7

8     Civil Rights Act (42 U.S.C. § 1983)…………………10, 11, 12, 13,16, 22, 23, 24
9
      18 U.S.C. § 1512(b)(1) and (2)
10

11       • Initial Discussion
12
           ………………………………………………………………….………..2, 3
         • Key Analysis on Predicate Acts……………………………...….…… 13–15
13

14    18 U.S.C. § 1519………………………………………………….……3, 13, 14, 16
15
      18 U.S.C. § 1952………………………………………………………….……3, 13
16
      Civil RICO Act……………………………………………………..……1, 3, 17, 22
17

18    18 U.S.C. § 1961………………….…………………1, 3, 10, 12, 13, 14, 15, 17, 22
19
      18 U.S.C. § 1962………………………………………………...3, 7, 10, 13, 15, 21
20

21    FRCP 8……………………………………………………………………..………7
22
      Rule 8(e)……………………………………………………………………………8
23
      Rule 8(a)………………………………………………………..…………10, 23, 24
24

25    42 U.S.C. § 1983 and RICO………………………………………………………10
26
      18 U.S.C. § 1961–1962…………………………………………………….…10, 13
27

28    PER L.R. 7-5, BRIEF WITH MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO AMEND
      COMPLAINT AND CONTINUED INJUNCTION REQUESTS WITH POINTS AND AUTHORITIES - 6
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24      Page 7 of 50 Page ID
                                           #:307


1     18 U.S.C. § 242………………………………………………….……………10, 11
2
      California Civil Code § 1714…………………………………………………..…12
3

4     CIVIL RICO 18 U.S.C. § 1961(1)…………………………………………..……13
5
      18 U.S.C. § 1503
6

7        • Primary Discussion………………………………………………………...13
         • Related Analysis……………………………….……………………… 14, 15
8

9     18 U.S.C. § 1512 (witness tampering)…………………………………2, 13, 14, 19
10
      18 U.S.C. § 1519 (alterations of records)……………………………... 3, 13, 14, 16
11

12
      RICO provisions under 18 U.S.C. § 1961–1962……………………………….…13

13    Rule 37(e) of the Federal Rules of Civil Procedure………………………………14
14
      18 U.S.C. § 1964………………………………………………………….………16
15

16    18 U.S.C. § 1962(c)………………………….……………………………………15
17
      28 U.S.C. § 1343…………………………………………………………….……24
18

19
      18 U.S.C. § 875……………………………………………………...……13, 15, 16

20    New York Penal Law Section 135.60-65…………………………………………15
21

22

23

24

25

26

27

28    PER L.R. 7-5, BRIEF WITH MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO AMEND
      COMPLAINT AND CONTINUED INJUNCTION REQUESTS WITH POINTS AND AUTHORITIES - 7
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24      Page 8 of 50 Page ID
                                           #:308


1

2
                                TABLE OF AUTHORITIES
3

4     Albright v. Oliver, 510 U.S. 266 (1994)…………………………………….……..9
5     Amerisource Bergen Corp. v. Dialysist W., Inc., 465 F.3d 946 (9th Cir. 2006)….25
6     Anderson v. Deere & Co., 852 F.2d 1244 (10th Cir. 1988) ………………...……..8
7     Applied Equipment Corp. v. Litton Saudi Arabia Ltd., 7 Cal. 4th 503 (1994)…...12
8     Arthur Andersen LLP v. United States, 544 U.S. 696 (2005) ………….……….. 13
9     Ashcroft v. Iqbal, 556 U.S. 662 (2009) ……………………………….……..10, 23
10
      Beck v. Prupis, 529 U.S. 494 (2000) ……………………………………………..15
11
      Beeck v. Aquaslide 'N' Dive Corp., 562 F.2d 537 (8th Cir. 1977) ………….……..7
12
      Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) …………………………..23
13
      Bonin v. Calderon, 59 F.3d 815 (9th Cir. 1995) ………………………….…..10, 21
14
      Bounds v. Smith, 430 U.S. 817, 821 (1977) …………………………..……..11, 24
15
      Boyle v. United States, 556 U.S. 938 (2009) ……………………………..……..18
16
      Bowles v. Reade, 198 F.3d 752, 757-58 (9th Cir. 1999) ………………….……..23
17
      Busch v. Gorry, Meyer & Rudd LLP, B260081 (Cal. Ct. App. Dec. 18, 2015)….15
18
      Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158 (2001) …………….…..19
19

20
      Conley v. Gibson, 355 U.S. 41 (1957) ……………………………………….…..24

21
      Cox v. Louisiana, 379 U.S. 559 (1965) …………………………………………..22

22    DCD Programs, Ltd. v. Leighton, 833 F.2d 183 (1987) …………………...…..7, 21
23    Desertrain v. City of Los Angeles, 754 F.3d 1147 (9th Cir. 2014) ………...…….11
24    Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048 (9th Cir. 2003) ….6, 17, 22
25    Foman v. Davis, 371 U.S. 178 (1962) ……………………………………..7, 13, 21
26    Griggs v. Pace American Group, Inc., 170 F.3d 877 (9th Cir. 1999) ……….7, 9, 18
27    Hardin v. Straub, 490 U.S. 536, 541 (1989) ………………………………….…..23
28    PER L.R. 7-5, BRIEF WITH MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO AMEND
      COMPLAINT AND CONTINUED INJUNCTION REQUESTS WITH POINTS AND AUTHORITIES - 8
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24       Page 9 of 50 Page ID
                                           #:309


1     Harris v. City of Seattle, 315 F. Supp. 2d 1112 (W.D. Wash. 2004) …….………17
2     Heng v. Heitman, 698 F. App'x 332, 333 (9th Cir. 2017) ………………………..23
3
      H.J. Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229 (1989) …….……..13, 14, 17
4
      Howey v. United States, 481 F.2d 1187 (9th Cir. 1973) …………………………..8
5
      Jones v. R.R. Donnelley & Sons Co., 541 U.S. 369 (2004) ……………….……..10
6
      Klamath-Lake Pharm. Ass'n v. Klamath Med. Serv. Bureau, 701 F.2d 1276, 1292
7
      (9th Cir. 1983) ……………………………………………………………..……..22
8
      Mathews v. Eldridge, 424 U.S. 319, 333 (1976) ………………………………..12
9
      Monell v. Department of Social Services, 436 U.S. 658 (1978) ………....11, 16, 22
10
      Monroe v. Pape, 365 U.S. 167 (1961) ………………………………………..…..12
11
      Morongo Band of Mission Indians v. Rose, 893 F.2d 1074 (9th Cir. 1990)……….8
12

13
      Nixon v. Warner Communications, Inc., 435 U.S. 589 (1978) …………………..19

14
      Owens v. Kaiser Found Health Plan, Inc., 244 F.3d 708 (9th Cir. 2001) …..…6, 21

15    People of the State of California, vs. Confidential, Inc., Hollywood Research, Inc.,
16    et al……………..…………………………………………………………..……..25
17    Rewis v. United States, 401 U.S. 808 (1971) ……………………………...……..13
18    Ryland v. Shapiro, 708 F.2d 967 (5th Cir. 1983) …………………………...……..9
19    Schmuck v. United States, 489 U.S. 705 (1989) ………………………….……..20
20    Screws v. United States, 325 U.S. 91 (1945) ………………………………….....10
21    Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479 (1985) ……………...……..15, 16, 17
22    Sussman v. ABC, Inc., 186 F.3d 1200, 1202–03 (9th Cir. 1999) …………………4
23    Swierkiewicz v. Sorema N.A., 534 U.S. 506, 514 (2002) ………………………..22
24
      United States v. Aguilar, 515 U.S. 593 (1995) …………………………………...14
25
      United States v. AT&T Inc., Civil Case No. 17-2511 (RJL) (D.D.C. Jun. 12,
26
      2018)……………………… ………………………………………………….…..15
27
      United States v. Indelicato, 865 F.2d 1370 (2d Cir. 1989) ……………...………..15
28    PER L.R. 7-5, BRIEF WITH MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO AMEND
      COMPLAINT AND CONTINUED INJUNCTION REQUESTS WITH POINTS AND AUTHORITIES - 9
     Case 5:24-cv-01930-TJH-DTB     Document 18 Filed 11/06/24      Page 10 of 50 Page ID
                                           #:310


1     United States v. Kelner, 534 F.2d 1020 (2d Cir. 1976) …………………………..13
2     United States v. McCarthy, 271 F.3d 1180 (9th Cir. 2001) ………...……..9, 19, 21
3
      United States v. Schultz, 333 F.3d 1155 (9th Cir. 2003) ………..………..16, 17, 20
4
      United States v. Turkette, 452 U.S. 576 (1981) …………………………...……..19
5
      United States v. Yates, 574 U.S. 528 (2015) ………………………………….…..2
6
      Village of Willowbrook v. Olech, 528 U.S. 562 (2000) …………………………..9
7
      Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S. 321 (1971)………...…..8
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28    PER L.R. 7-5, BRIEF WITH MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO AMEND
      COMPLAINT AND CONTINUED INJUNCTION REQUESTS WITH POINTS AND AUTHORITIES - 10
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24     Page 11 of 50 Page ID
                                            #:311


1     Christina Taft
      Plaintiff in Propria Persona
2     1700 Ala Moana Blvd Apt 2301
      Honolulu, Hawaii 96815
3     Phone: 0623441766
      Ceo.Taft@Rescue-Social.com
4
                        UNITED STATES DISTRICT COURT
5
               CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
6

7
      CHRISTINA TAFT                            Case No.: 5:24-cv-01930-TJH-DTB
8

9                      PLAINTIFF,               [Hon. Terry J. Hatter, Jr.]

10                                              Hearing Date:
      VS.
11                                              PLAINTIFF’S MOTION TO
      PAUL BARRESI, ADAM R                      AMEND COMPLAINT AND
12
                                                CONTINUED INJUNCTION
13    WALDMAN, AND DOES 1-10,                   REQUESTS
14
      INCLUSIVE,
15

16                           DEFENDANTS.
17
                     PLAINTIFF’S MOTION TO AMEND COMPLAINT
18                     AND CONTINUED INJUNCTION REQUESTS
19
             Plaintiff, CHRISTINA TAFT, pursuant to Rule 15(a)(2) of the Federal Rules
20
      of Civil Procedure, respectfully moves this Court for leave to amend the complaint
21    against Defendants Paul Barresi and Adam Waldman, to seek and to clarify and
22    consolidate Plaintiff’s claims, including multiple federal violations related to
23    Obstruction of Justice and Witness Interference under the Civil Rights Act (42
      U.S.C. § 1983), and as Predicate Acts under the Civil RICO Act (18 U.S.C. §
24
      1961-1968). The amendment will categorize these violations, provide factual and
25    legal support for each, and present a concise narrative of unlawful conduct
26    infringing on Plaintiff’s rights. Additionally, Plaintiff’s Declarations and
27    Witnesses, pursuant to L.R. 7-6, attached hereto, support the issuance of
      Injunctions for restraining orders against both Defendants. Plaintiff respectfully
28
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 1
     Case 5:24-cv-01930-TJH-DTB     Document 18 Filed 11/06/24       Page 12 of 50 Page ID
                                           #:312


1     requests that the Court grant this motion to ensure the comprehensive and accurate
2     presentation of the claims in the “interest of justice.”
3
             This motion is made following the conference of counsel pursuant to L.R.
      7-3 which took place on November 5th. Plaintiff provided notice for consent to
4
      amend, Rule 15, on October 31st-November 2nd to Defendant Barresi’s counsel of
5     Lavely & Singer, Melissa Lerner. On November 5th, 2024, Ms. Lerner responded.
6     Plaintiff provided consolidation and federal local rules, therefore Plaintiff moves
7     this Court to file this on the proper date of November 6th, 2024.
8
                               I. FACTUAL BACKGROUND
9

10
      1. Original Filing: Plaintiff filed the original complaint against Defendants Paul
      Barresi and Adam Waldman, for witness tampering, intimidation, civil rights
11    violations, and racketeering activities. The complaint outlined several instances of
12    interstate criminal conduct aimed at obstructing justice and harming Plaintiff.
13    2. Category: The judge classified the complaint under the Civil Rights Act (42
14    U.S.C. § 1983), which provides a civil remedy for rights violations by those acting
      under "color of law," including corrupt attempts to coerce witnesses, victims, and
15
      informants for exploitative gain.
16

17
      3. Witness Declarations: Since filing the original complaint, Plaintiff has obtained
      witness declarations that corroborate the claims, adding credibility to the
18    allegations against Defendants. In United States v. Yates, 574 U.S. 528 (2015), the
19    Court affirmed that witness testimony can support an amendment. Declarations
      from multiple victims show a pattern of ongoing civil rights violations and
20    racketeering activity, strengthening Plaintiff’s case.
21
      4. Witnesses to Urgency of Violations and Predicate Acts: Attached hereto are
22
      witness declarations from three licensed private investigators and witnesses
23    detailing elements of continuing violations of rights and predicate acts, with
24
      urgency for restraining orders, related to the defendants, including:

25          Witness Tampering and Obstruction of Justice: As per 18 U.S.C. §
26          1512(b)(1) and (2), the defendants have engaged in actions designed to
            intimidate, threaten, and corruptly persuade witnesses, thereby obstructing
27          justice. Defendant’s actions were calculated and targeted, and are ongoing.
28
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 2
     Case 5:24-cv-01930-TJH-DTB     Document 18 Filed 11/06/24       Page 13 of 50 Page ID
                                           #:313


1           Destruction, Alteration, or Falsification of Records: The evidence
2           indicates a clear violation of 18 U.S.C. § 1519, involving the alteration of
            records pertinent. Objects, including audio recordings and written records,
3
            were altered by Defendants to change the nature of these objects when
4           related to witnesses, coerced to withhold and/or change their testimonies.
            This obstruction by Defendants was to alter investigations and justice,
5
            including by federal authorities, that Defendants purported more access to.
6

7
            Interstate Communications: The actions of the Defendants fall within the
            purview of racketeering as outlined in 18 U.S.C. § 1952, involving interstate
8           threats and activities, conducted in aid of racketeering enterprises.
9
            Anti-Racketeering Elements (Civil RICO Act): The Plaintiff asserts
10
            claims under the Civil RICO Act, as specified in 18 U.S.C. § 1961 and 18
11          U.S.C. § 1962, based on the racketeering activities identified in this case.
12
      5. Mike McCormick’s Declaration (See Exhibit A, a true and correct copy of
13    said Declaration, attached to herein): In a Declaration of a Witness from retired
14
      LAPD licensed private investigator Mike McCormick, relevant facts as to activities
      involved:
15

16    Witness Interference: Witness has observed witness interference through
      interviews and documentation, with knowledge of ongoing threats and harassment
17
      directed at witnesses by the defendants.
18
      Witness declares he possesses an interview conducted with Albertini by Barresi on
19
      June 4, 2022, from 2019, that is relevant and pertinent information relating to this
20    Case. Witness declares he personally communicated with Richie, who provided
21
      names of witnesses and timelines pertinent to the case. Notable names include
      Chris Stanco, Bruce Corkum, Peter Nichols, Cathy Duncan, Stacy Lopez, Donna,
22    and Big Ed Shaw—over 20 individuals related to the Viper Room who could
23    provide critical testimony.
24
      Coercion and Intimidation: Witness knows that Barresi used a recording to
25    coerce Richie and Big Ed Shaw, and also contacted Daniel Brummit to intimidate
      him and his son. In 2022, witnesses observed Barresi and Adam Waldman
26
      conspiring to suppress testimonies. Additionally, Mario Nitrini has correspondence
27    between Barresi and Waldman obstructing witness requests for the Browne George
28
      Ross LLP former client’s defense and current law firms of victims.
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 3
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24        Page 14 of 50 Page ID
                                            #:314


1     Intimidation of Witnesses and Individuals Perceived as Opponents: Witness
2     has firsthand knowledge of intimidation against himself, Richie, and Mario Nitrini
      by Barresi. Barresi threatened Nitrini with a "rat" photo and a statement to "shoot a
3
      photo of that face." Witness observed crimes by the defendants, including Adam
4     Waldman approving tactics of leveraging break-ins and vandalism to gain an
      advantage. He also saw Barresi and Waldman targeting individuals to intimidate.
5
      Witness Rebecca Berry was pressured by Barresi, who implied threats and
6     vandalism would be redirected to make it seem like the work of their opponents.
7
      Threatening Communications: Witness details how Barresi threatened Richard
8     Albertini via text, saying, “I still have that taped conversation of you and Big Ed,”
9     intending to use it for coercion. Barresi also made violent threats, stating, “if I
      hadn’t done her in, someone else would have.” Barresi has repeatedly intimidated
10
      Plaintiff Taft with tapes, linking her through her mother to a mob murder, as
11    witnessed by PI Kountz and Adam Waldman. The elements of coercive use and
      exploitation of these recordings demonstrates torts and illegal actions by
12
      Defendants as their purpose, fulfilling Sussman v. ABC, Inc., 186 F.3d 1200, 1202–
13    03 (9th Cir. 1999).
14
      Dangerous Conduct: Witness has personally received emails from Barresi,
15    including references to Anthony Fox, a former co-owner of the Viper Room, who
16    is believed to have been murdered. Audio recordings exploitation and timings of at
      least one financial transaction with federal authority interest, as observed by
17
      former Diplomatic Security Specialist Juan Brooks, and suppression of witness
18    testimony stating Paul Schindler is the likely killer of Mr. Fox, shows this is part of
      the conspiracy of Defendants to eliminate anyone, including Plaintiff, in their path.
19
      Barresi is a known danger to potential witnesses, including Amber Heard, and has
20    identified several former clients as potential witnesses in his communications.
21
      Impact on Cases: Witness has observed that Barresi’s actions have negatively
22    impacted cases like Rocky Brook’s, including the unavailability of witnesses from
23    the Viper Room, such as Heard.
24
      Exploitation of Records: Witness indicates that Barresi has been known to audio
25    record and exploit phone calls with attorneys, former clients, and potential
      witnesses who may wish to report him. Defendant Adam Waldman “Consigliere”
26
      has enhanced, directed, and rewarded “Bagman” Barresi for his actions to benefit
27    principle Depp, knowing that his license was nearly immediately revoked by the
28
      attorney general and that he can cause death to potential witnesses.
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 4
     Case 5:24-cv-01930-TJH-DTB     Document 18 Filed 11/06/24      Page 15 of 50 Page ID
                                           #:315


1

2     6. Key Witnesses and Plaintiff Needing Urgent Protections: Key witnesses will
      declare after multiple Licensed Private Investigators McCormick, who
3
      communicated with a key witness and Plaintiff, and Kountz attest that intimidation,
4     threats, and corrupt persuasion is continuing to this day.
5
      One key witness who Plaintiff verified, Richard Albertini, a continuing target by
6     Defendants, provides detailed testimony regarding their observations of Johnny
7
      Depp's abusive behavior, including assaults on both men and women, particularly
      at the Viper Room nightclub. The witness identifies over 20 potential witnesses
8     connected to the Viper Room. They also detail how Defendants Paul Barresi and
9     Adam Waldman used intimidation, coercion, and similar tactics to blackmail,
      including audio recordings, to prevent witness testimony and communication of
10
      witnesses. The witness recounts being intimidated by Barresi, including threats to
11    their life, and describes Barresi’s involvement in criminal activities, including
      exploitation to portray to potential witnesses he is a hitman and/or a murderer.
12

13    The witness further describes their knowledge of various violent incidents
14
      involving Johnny Depp, including the abuse of women and threats against others,
      such as Paul Schindler’s violent actions and connections to Depp. He mentions his
15    involvement as a cooperating witness for Amber Heard's legal case, including a
16    history of being pressured to retract statements. The witness also describes
      Barresi’s ongoing attempts to intimidate them and Plaintiff Taft, including death
17
      threats and attempts to manipulate their testimony. Throughout, the witness
18    expresses fear for their own safety and that of others involved, including Taft and
      Heard. The witness also recounts their willingness to testify in other cases
19
      involving Depp’s abuse, despite continued intimidation.
20

21
      In summary, the witness’s statement outlines a pattern of abuse, intimidation, and
      corruption by Depp and his associates, with specific details of threats, coercion,
22    and efforts to suppress testimony against him. Witnesses indicate given their
23    knowledge of Barresi's long-standing aggression and dangerous behavior, he
      asserts that he poses a significant threat and requires restraining measures.
24

25    7. Michael Kountz’s Declaration (See Exhibit B, a true and correct copy of said
      Declaration, attached to herein): In a Declaration of a Witness from a licensed
26
      private investigator from New Mexico.
27

28
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 5
     Case 5:24-cv-01930-TJH-DTB       Document 18 Filed 11/06/24         Page 16 of 50 Page ID
                                             #:316


1     Coercion, Fear of Reprisal and Manipulation: Barresi recorded a phone
2     conversation with James Conner without his consent, edited the audio to distort its
      content, and used it to threaten claims about Taft. Taft was subjected to ongoing
3
      harassment and threats, coercive tactics, and alarming messages. Defendant Barresi
4     referenced mafia connections and death threats. Conner feared for his life due to
      Barresi's aggressive behavior.
5

6     Kountz reviewed the audio tape done by Paul Barresi of purportedly James
7
      Conner, are alterations that he was an FBI agent and that her mother Victoria Taft
      had witnessed a mob murder by the Gottis. Conner advised me he was never an
8     FBI agent. The tape showed images of a man dead allegedly from the mafia,
9     members of the mafia, and a gun. In the beginning of the tape, Barresi discussed a
      photo of Amber Heard with Plaintiff Taft to James Conner, that they were arm in
10
      arm, yet at the same time indicating danger to life through comparing to an
11    assailant. I have information that Plaintiff is still fearful to this day that this audio
      tape is either to make someone shoot her or to shoot Amber. Or that a death could
12
      occur. I have information that Defendant Barresi acted aggressively to terrify Taft
13    and others contained in the content of the audio tape.
14
      Kountz witnessed Barresi continuously send threatening correspondence to Taft,
15    including explicit and disturbing content which was harassing, and included
16    invoking individuals associated with organized crime, and made references to
      people connected to her alleged family in a manner intended to intimidate or
17
      manipulate. Barresi sent more threatening messages, including disturbing emails
18    about Taft's family, and attempts to interfere with her relationships or threaten
      further, in attachment to Defendant Adam Waldman.
19

20                                  II. LEGAL STANDARD
21
             Under Federal Rule of Civil Procedure 15(a)(2), the court should "freely
22
      give leave to amend when justice so requires." The Ninth Circuit has emphasized
23
      this policy of liberal amendment in cases such as Eminence Capital, LLC v.
24    Aspeon, Inc., 316 F.3d 1048 (9th Cir. 2003), and Owens v. Kaiser Found Health
25    Plan, Inc., 244 F.3d 708 (9th Cir. 2001), which affirm that amendments should be
26
      allowed to address legal deficiencies and promote a comprehensive evaluation of
      the case’s merits. The Ninth Circuit has further stated that minor procedural issues
27
      or delays should not prevent an amendment when it enables a more complete
28    hearing of the facts.
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 6
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24       Page 17 of 50 Page ID
                                            #:317


1            This amendment will improve judicial efficiency by presenting all of
2     Plaintiff’s factual and legal contentions in one proceeding, promoting a fair and
3
      thorough adjudication. It aligns with Rule 1 of the Federal Rules of Civil
      Procedure, aiming for the "just, speedy, and inexpensive determination of every
4
      action."
5            The Supreme Court in Foman v. Davis, 371 U.S. 178 (1962), outlined
6     factors for considering amendments, including undue delay, bad faith, failure to
7     cure deficiencies, undue prejudice, and futility. The Ninth Circuit in DCD
      Programs, Ltd. v. Leighton, 833 F.2d 183 (1987), reinforced that amendments
8
      should be allowed to facilitate a full presentation of relevant facts, particularly
9     when sought in good faith.
10           Plaintiff’s motion to amend seeks to clarify and expand on the factual and
11    legal bases of her claims, ensuring a complete and fair adjudication. For these
      reasons, Plaintiff respectfully requests that the Court grant the motion, allowing the
12
      case to proceed on a fully substantiated record.
13

14                  III. ARGUMENTS SUPPORTING AMENDMENT
15
      1. Timeliness of Motion: Plaintiff’s motion to amend is timely, filed well within
16    the limits established by the Court’s scheduling order. No undue delay is present,
17
      as Plaintiff diligently sought this amendment upon discovering additional facts and
      evidence. Foman v. Davis, 371 U.S. 178 (1962) established that amendments
18    should be “freely given” when justice requires, especially if filed timely without
19    undue delay.
20
      2. Judicial Efficiency: Granting leave to amend will consolidate related claims
21    into one action, promoting judicial efficiency by allowing a single court to address
      interrelated legal and factual issues. Beeck v. Aquaslide 'N' Dive Corp., 562 F.2d
22
      537 (8th Cir. 1977) supports amending to allow all related claims to be adjudicated
23    in one action, thereby avoiding piecemeal litigation. Consolidating Plaintiff’s
24
      claims under one complaint will streamline court resources and promote efficiency.
      Allowing the amendment promotes judicial economy with one proceeding,
25    avoiding piecemeal litigation. The principles in Griggs v. Pace American Group,
26    Inc., 170 F.3d 877 (9th Cir. 1999), support flexibility in the legal process.
27
      3. Rule 15(a)(2) combined with FRCP 1 and FRCP 8: This rule emphasizes
28    justice and efficiency. FRCP 1 calls for the "just, speedy, and inexpensive
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 7
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24        Page 18 of 50 Page ID
                                            #:318


1     determination" of actions, while Rule 15(a)(2) encourages amendments that align
2     with these goals. Rule 8(e) further directs that pleadings be construed to “do
      substantial justice,” reflecting the judiciary's preference for decisions based on
3
      merit. Together, these rules promote procedural flexibility to ensure a more
4     thorough examination of issues.
5
      4. Adequate Notice and Clarification of Claims: The original complaint gave
6     Defendants fair notice of the conduct at issue. The proposed amendment clarifies,
7
      rather than alters, the Plaintiff’s claims, ensuring precise and fair adjudication. As
      ruled in Anderson v. Deere & Co., 852 F.2d 1244 (10th Cir. 1988), amendments
8     that clarify existing claims are proper. The amendment does not prejudice
9     Defendants and allows the case to proceed without disruption, as stated in Zenith
      Radio Corp. v. Hazeltine Research, Inc., 401 U.S. 321 (1971). Defendants will
10
      have the opportunity to respond to the amended claims without disadvantage.
11
      5. Lack of Prior Amendments: Plaintiff has not previously amended Plaintiff’s
12
      complaint; thus, there is no history of repetitive or dilatory conduct in Plaintiff’s
13    pleadings. This case remains in its preliminary stages, further supporting
14
      amendment as appropriate.

15    6. Local Rules Favor Substantive Adjudication: The local rules and judicial
16    standards prioritize adjudication on the merits. Allowing amendment aligns with
      this principle by providing Plaintiff the opportunity to fully articulate Plaintiff’s
17
      claims.
18
      Courts balance the policy favoring amendments against potential prejudice, delay,
19
      and judicial economy. The Ninth Circuit has held that minor inconveniences or
20    additional litigation do not justify denying amendments. In Howey v. United States,
21
      481 F.2d 1187 (9th Cir. 1973), the court ruled that alleged prejudice must be
      significant, not just incidental. This principle supports Plaintiff’s request, as the
22    amendment seeks a merits-based review without undue harm to Defendants.
23    Howey establishes that amendments should be allowed unless Defendants show
      substantial prejudice.
24

25    In Morongo Band of Mission Indians v. Rose, 893 F.2d 1074 (9th Cir. 1990), the
      Ninth Circuit held that delay alone is not grounds to deny an amendment. The
26
      court emphasized that Rule 15(a)(2) encourages adjudication on the merits unless
27    there is undue prejudice. Plaintiff’s proposed amendment is timely, made in good
28
      faith, and aligns with the Federal Rules' goals. Rulings in Howey and Morongo
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 8
     Case 5:24-cv-01930-TJH-DTB       Document 18 Filed 11/06/24        Page 19 of 50 Page ID
                                             #:319


1     support a focus on equitable resolution over procedural barriers, ensuring a
2     thorough examination of claims in the interests of justice.
3
      7. Federal Protection of Fundamental Rights: Plaintiff’s allegations concern
4     fundamental rights that require federal intervention, making amendment essential
      for proper adjudication under federal standards. The amendment ensures that
5
      Plaintiff’s constitutional claims are properly delineated, allowing the Court to
6     address each violation with precision.
7
      8. Systematic Pattern of Violations: Plaintiff demonstrates a systematic pattern
8     of civil rights violations, indicating that these were not isolated incidents but part
9     of a broader scheme. Albright v. Oliver, 510 U.S. 266 (1994) established that
      systematic constitutional violations could be grounds for federal claims. Plaintiff’s
10
      complaint details a deliberate, coordinated scheme, evidencing a pattern of civil
11    rights infringements.
12
      9. Detailed Constitutional Deprivations: The amendment provides specific
13    examples of constitutional deprivations suffered by Plaintiff, offering the Court a
14
      factual basis for each violation. Ryland v. Shapiro, 708 F.2d 967 (5th Cir. 1983)
      recognized denial of access to courts as a constitutional violation. Plaintiff’s
15    amendment details efforts to obstruct Plaintiff’s access to justice, constituting a
16    significant First Amendment breach.
17
      10. Denial of Access to Justice: Defendants' coordinated efforts to block
18    Plaintiff’s access to courts and law enforcement violate Plaintiff’s fundamental
      right to petition for redress. The claimed intimidation tactics undermine the judicial
19
      process. In Village of Willowbrook v. Olech, 528 U.S. 562 (2000), the Court ruled
20    that intentional, arbitrary discrimination violates equal protection. Plaintiff shows
21
      ongoing discriminatory conduct as a violation of equal protection rights.

22    11. Witness Protection and Justice: The overarching theme in cases involving
23    witness tampering and racketeering is the need to protect the integrity of witness
      testimony. The legal system must respond robustly to protect witnesses from
24
      intimidation, as emphasized in U.S. v. McCarthy, 271 F.3d 1180 (9th Cir. 2001),
25    which reinforced the importance of safeguarding witnesses. As established in
      Griggs v. Pace American Group, Inc., 170 F.3d 877 (9th Cir. 1999), when new
26
      facts arise indicating the necessity for different legal treatment, it is crucial that
27    courts act swiftly to amend complaints to ensure the case is appropriately
28
      classified. The ongoing threats and harassment against witnesses in this case
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 9
     Case 5:24-cv-01930-TJH-DTB     Document 18 Filed 11/06/24      Page 20 of 50 Page ID
                                           #:320


1     highlight the urgent need.
2
      12. Due Process Violations: The amendment includes particularized due process
3
      violations under § 1983, with evidence of procedural misconduct by Defendants.
4
      13. Rule 8(a): With compliance with Rule 8(a) Pleading Standards, Plaintiff’s
5
      proposed amendment meets the requirements under Rule 8(a) of the Federal Rules
6     of Civil Procedure, which mandates a “short and plain statement” of claims
7
      demonstrating entitlement to relief.

8     14. In Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal,
9     556 U.S. 662 (2009), The Supreme Court affirmed that pleadings must be plausible
      and sufficiently specific to allow defendants fair notice. Plaintiff’s claims,
10
      presented with requisite clarity and support, satisfy these pleading standards,
11    ensuring that Defendants are adequately informed of the claims and prepared for
      full adjudication on the merits.
12

13              Amendments Pertaining to Civil Rights and RICO Claims
14
             Complex cases involving civil rights claims under 42 U.S.C. § 1983 and
15
      RICO claims under 18 U.S.C. § 1961–1962 highlight the importance of
16    amendments for a full and fair review. Amendments often provide essential details
17    of predicate acts that establish a pattern of racketeering. In Bonin v. Calderon, 59
      F.3d 815 (9th Cir. 1995), the Ninth Circuit emphasized that amendments clarifying
18
      or adding facts are critical to fair adjudication. Similarly, in Jones v. R.R.
19
      Donnelley & Sons Co., 541 U.S. 369 (2004), the Supreme Court affirmed that
20    amendments help substantiate patterns of misconduct in cases involving systemic
21    rights violations.
22
           Consolidation Arguments of Actions in Violations of Civil Rights Act
23                   Civil Rights Violations Under 42 U.S.C. § 1983
24
      1. 42 U.S.C. § 1983 – Civil Action for Deprivation of Rights (18 U.S.C. § 242):
25
      Plaintiff claims that Defendants, acting under the apparent authority of law,
26    intentionally misused their access to information and on potential witnesses which
27
      is meant for certified personnel with their influence, which then deprived her of
      rights protected by federal statutes, violating 18 U.S.C. § 242, which criminalizes
28    willful rights deprivation under color of law. Citing Screws v. United States, 325
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 10
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24        Page 21 of 50 Page ID
                                            #:321


1     U.S. 91 (1945), Plaintiff argues that Defendants’ actions, taken with malicious
2     intent, unlawfully imposed legal and social burdens on her, infringing her due
      process and access to fair judicial proceedings. These allegations support her §
3
      1983 claims for damages and relief.
4
      Additionally, in Desertrain v. City of Los Angeles, 754 F.3d 1147 (9th Cir. 2014),
5
      the Ninth Circuit emphasized the importance of allowing amendments in civil
6     rights cases to fully develop claims. This precedent supports Plaintiff’s request to
7
      amend and ensures a comprehensive review of her civil rights allegations.

8     2.      Claims of Systematic Rights Violations: Plaintiff also raises claims under
9     Monell v. Department of Social Services, 436 U.S. 658 (1978), which allows
      liability when official policies or customs lead to rights violations. Plaintiff argues
10
      that Defendants’ systemic actions reflect a de facto policy of harassment,
11    obstructing her legal claims and violating her rights. Desertrain supports allowing
      amendments to fully develop civil rights claims, reinforcing Plaintiff’s request to
12
      amend and clarify her allegations of systemic rights violations for thorough
13    adjudication.
14
      3. Protection of Rights to Petition the Government: The amendment addresses
15    a significant infringement on the Plaintiff’s First Amendment right to access the
16    courts for redress of grievances, a right safeguarded under 42 U.S.C. § 1983. In
      Bounds v. Smith, 430 U.S. 817, 821 (1977), the Court confirmed that denial of
17
      meaningful access to the courts constitutes a violation of constitutional rights. This
18    amendment explicitly details the interference experienced, thereby reinforcing the
      claims of the rights to report Defendants as endangering witnesses and potential
19
      witnesses to the Bureau of Security and Investigation Services, FBI, federal
20    authorities, and police and clarifying the constitutional violations at issue.
21
      4. The Civil Rights Act under § 1983: This Act ensures accountability for abuses
22    of governmental power, empowering citizens to protect themselves against
23    unlawful conduct by individuals who misuse their “color” of access to
      governmental authority. This provision is central to claims where Defendants,
24
      wielding governmental influence or in connection with government entities, have
25    violated Plaintiff’s constitutional rights to due process, equal protection, and
      freedom of speech. Although Plaintiff contends the illegalities by Defendants,
26
      Plaintiff demonstrates the need to address civil rights violations. Defendants
27    Barresi and Waldman are a dangerous combination. Witnesses and Plaintiff went
28
      to report to the police, FBI, and Bureau of Security and Investigation Services for
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 11
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24       Page 22 of 50 Page ID
                                            #:322


1     assistance from Defendants’ tactics. Federal Informant Rauhauser informed client
2     Taft and retired LAPD private investigator that Adam Waldman utilizes his
      associations with powerful actors, alternating between them, in interest of the
3
      government to effectively evade and influence authorities, making directions to not
4     be witnesses against Depp truly threatening. Defendant Barresi claimed authorities
      would listen to him, making alterations of records, forcing withholding or changing
5
      of testimony of witnesses, and pressured that his “erstwhile” client, Plaintiff, and
6     witnesses were subjects of the FBI. Meanwhile, Barresi held himself out to be akin
7
      to a mafia figure with associations to groups convicted of racketeering and his
      private interests for the “Hollywood Fixing” Depp enterprise, holding Plaintiff and
8     witnesses with no escape. Taft protected herself and witnesses with private
9     investigators, as well as reporting. By invoking § 1983, Plaintiff asserts that these
      Defendants, while acting under color of law, deprived Plaintiff of federally
10
      protected rights, thus justifying a federal cause of action. It allows a Plaintiff to
11    seek redress against any person who, through the misuse of authority, infringes
      upon rights secured by the United States Constitution or federal law.
12

13    The definition of “under color of state law” within § 1983 was expanded with the
14
      landmark case Monroe v. Pape, 365 U.S. 167 (1961). It clarified that actions to
      violate need not be expressly authorized by law to qualify; rather, any misuse of
15    authority granted can suffice. Monroe v. Pape supports Plaintiff’s assertion that
16    Defendants’ conduct, due to it being unauthorized, falls within § 1983 liability
      when it involved misused authority. Plaintiff thus establishes that Defendants acted
17
      under color of law in depriving Plaintiff’s of constitutional rights.
18
      5. Substantiation of Due Process Violations: The proposed amendments
19
      highlight specific due process violations, particularly the lack of fair procedures,
20    constituting a denial of procedural due process under the Fourteenth Amendment.
21
      In Mathews v. Eldridge, 424 U.S. 319, 333 (1976), the Court emphasized that
      procedural due process requires fair safeguards. These amendments support the
22    due process claims, aligning with constitutional protections.
23
      6. Civil Conspiracy to Commit Torts: Plaintiff asserts a civil conspiracy claim
24
      based on Defendants' coordinated efforts to obstruct justice and violate her rights.
25    Under California Civil Code § 1714, liability applies to conspiracies involving
      wrongful conduct. Defendants' actions to interfere with Plaintiff's rights and
26
      intimidate witnesses support this claim. Applied Equipment Corp. v. Litton Saudi
27    Arabia Ltd., 7 Cal. 4th 503 (1994) affirms liability for joint actions with malicious
28
      intent. Plaintiff seeks joint and several liability for damages from Defendants'
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 12
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24        Page 23 of 50 Page ID
                                            #:323


1     unlawful acts.
2
       Consolidation Arguments of Predicate Acts in Furtherance of Racketeering
3

4            The amendment incorporates allegations under 42 U.S.C. § 1983, detailing
5
      Defendants' violations of Plaintiff’s constitutionally protected rights through
      intimidation, coercion, and interference. To demonstrate a pattern of racketeering,
6
      the amendment further specifies predicate acts under CIVIL RICO 18 U.S.C. §
7     1961(1), including obstruction of justice (18 U.S.C. § 1503), witness and victim
8     tampering (18 U.S.C. § 1512), Destruction, Alteration, or Falsification of Records
9     (18 U.S.C. § 1519), Interstate Communications Threats (18 U.S.C. § 875),
      Interstate Travel in Aid of Racketeering (18 U.S.C. § 1952). These claims
10
      underscore the necessary continuity and connection between Defendants' actions,
11    satisfying the standards for a pattern of racketeering activity as outlined in H.J. Inc.
12    v. Northwestern Bell Tel. Co., 492 U.S. 229 (1989).
13           These revisions aim to provide greater specificity to Plaintiff’s claims,
      ensuring the Court can fully evaluate the merits. Arthur Andersen LLP v. United
14
      States, 544 U.S. 696 (2005), highlights "corrupt persuasion" of witnesses, while
15
      United States v. Kelner, 534 F.2d 1020 (2d Cir. 1976), confirms that interstate
16    threats are predicate acts. Rewis v. United States, 401 U.S. 808 (1971) establishes
17    that interstate travel for an illegal enterprise is a predicate act.
             These acts support a pattern of racketeering activity, as required by H.J. Inc.
18
      v. Northwestern Bell Tel. Co., 492 U.S. 229, 239 (1989), which calls for continuity
19
      and relatedness in racketeering claims. Foman v. Davis, 371 U.S. 178, 182 (1962),
20    affirms the liberal granting of amendments to fully substantiate claims, absent
21    undue delay or prejudice.
             Plaintiff asserts that Defendants have engaged in a coordinated campaign to
22
      obstruct justice through intimidation, coercion, and evidence tampering, violating
23
      federal statutes, including 18 U.S.C. § 1512 (witness tampering) and § 1519
24    (destruction of evidence), as well as RICO provisions under 18 U.S.C. § 1961–
25    1962. Plaintiff further claims violations of her constitutional rights under 42 U.S.C.
26
      § 1983, presenting a clear pattern of conduct aimed at thwarting her pursuit of
      justice.
27

28
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 13
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24        Page 24 of 50 Page ID
                                            #:324


1     1. Systematic Witness Intimidation and Obstruction of Justice
2     Plaintiff contends that Defendants systematically harassed and intimidated
      witnesses through threats and coercion to suppress testimony, obstructing the fair
3
      adjudication of her claims. These actions violate 18 U.S.C. § 1512(b)(1), which
4     criminalizes witness tampering, and 18 U.S.C. § 1503, which prohibits interference
      with judicial proceedings. Plaintiff claims these instances of intimidation,
5
      occurring over a prolonged period and involving multiple individuals, demonstrate
6     continuity and specific intent—key elements of a RICO violation under 18 U.S.C.
7
      § 1961(5).

8     Plaintiff cites U.S. v. Aguilar, 515 U.S. 593 (1995), where the Supreme Court held
9     that obstruction statutes cover acts intended to disrupt judicial proceedings with a
      clear link to justice. Plaintiff argues that Defendants’ deliberate actions to
10
      discourage witness cooperation and obstruct court proceedings show a willful
11    disregard for the integrity of the judicial process, supporting her claims for relief
      under both obstruction and RICO statutes.
12

13    2. Interference and Manipulation of Key Evidence
14
      Plaintiff asserts that Defendants engaged in the destruction or manipulation of
      critical evidence material to her claims, thereby violating 18 U.S.C. § 1519, which
15    criminalizes the intentional destruction, alteration, or falsification of records with
16    the intent to obstruct investigations or judicial proceedings. Such actions not only
      hinder Plaintiff’s ability to substantiate her claims but also implicate Rule 37(e) of
17
      the Federal Rules of Civil Procedure, which permits courts to sanction parties who
18    fail to preserve electronically stored information critical to litigation.
19
      Plaintiff contends that Defendants’ actions form part of an overarching strategy
20    aimed at depriving her of fair access to evidence. By engaging in the systematic
21
      destruction or alteration of evidence, Plaintiff argues that Defendants intended to
      compromise the integrity of the proceedings and obstruct her path to a fair
22    resolution. These actions, she contends, amount to predicate acts that further
23    establish the pattern of racketeering activity necessary to support her RICO claim.
      In H.J. Inc. v. Northwestern Bell Telephone Co., 492 U.S. 229 (1989), the Supreme
24
      Court delineated the requirements for demonstrating a RICO violation,
25    underscoring that continuity and relatedness of criminal acts are critical to
      establishing a cohesive pattern of racketeering—standards that Plaintiff asserts are
26
      met in her allegations against Defendants.
27

28
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 14
     Case 5:24-cv-01930-TJH-DTB     Document 18 Filed 11/06/24        Page 25 of 50 Page ID
                                           #:325


1     3. Pattern of Racketeering Activity Demonstrating Continuity and
2     Relatedness: The acts of intimidation, coercion, evidence tampering, and
      obstruction of justice asserted by Plaintiff collectively demonstrate the continuity
3
      and relatedness required to substantiate a pattern of racketeering under 18 U.S.C. §
4     1961. Plaintiff argues that the predicate acts represent a continuous and
      coordinated effort by Defendants, extending over several years and affecting
5
      multiple individuals, which satisfies the temporal and relational elements needed to
6     establish a RICO violation.
7
      4. Multiple Victims, Relationship and Continuity of Acts: The predicate acts
8     are not isolated; they are linked by common purposes and participants,
9     demonstrating both relationship and continuity. Beck v. Prupis, 529 U.S. 494
      (2000), addressed the need for related predicate acts over time, not isolated
10
      incidents. Plaintiff shows Defendant’s related and recurring tactics, evidencing
11    relationship and continuity. Defendants have continued their tactics repeatedly
      over 5 years, with Defendant Barresi proclaiming “hundreds” of people to Witness
12
      Berry in relation to “fixing” for Depp, Consigliere Waldman conveyed his years
13    long interest to Barresi in their recorded phone call, and to Plaintiff Taft over 2 ½
14
      years to this day. Each predicate act shares similar methods and goals, evidencing
      an orchestrated pattern of unlawful behavior. Defendant's tactics repeatedly
15    correlate with the elements of the Coercion Law of New York (Penal Law Section
16    135.60-65), including to coerce others into joining their scheme, and that needs
      adjoining in California. United States v. Indelicato, 865 F.2d 1370 (2d Cir. 1989)
17
      clarified that a pattern of racketeering exists where acts are similar in method,
18    victim, and participant. Defendant Barresi is familiar with creating “mile long
      lists” of victims, with a case involving the journalist Anita Busch having 500
19
      victims sue in class action United States v. AT&T Inc., Civil Case No. 17-2511
20    (RJL) (D.D.C. Jun. 12, 2018) for grievances when their audio recordings were
21
      collected by Pellicano Investigations Ltd with implication to case, Busch v. Gorry,
      Meyer & Rudd LLP, B260081 (Cal. Ct. App. Dec. 18, 2015).
22

23           Plaintiff shows consistent tactics used by the same actors against
      Plaintiff. Plaintiff asserts that Defendants operated as an "enterprise" under 18
24
      U.S.C. § 1962(c), orchestrating a scheme to further their illicit goals through
25    intimidation and manipulation of judicial processes. Citing Sedima, S.P.R.L. v.
      Imrex Co., 473 U.S. 479 (1985), Plaintiff highlights that a RICO claim requires
26
      evidence of a pattern of racketeering that directly harms the plaintiff. Plaintiff
27    refers to Barresi, who conspired with Adam Waldman (Johnny Depp’s consigliere)
28
      to intimidate witnesses and opponents, engaging in "complex and elaborate"
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 15
     Case 5:24-cv-01930-TJH-DTB     Document 18 Filed 11/06/24       Page 26 of 50 Page ID
                                           #:326


1     interference. Barresi also made statements of "take it to the bank," and noted his
2     recordings, which Plaintiff and witnesses attest he exploited. This is accompanied
      by a continuous series of predicate acts including intimidation and corrupt
3
      persuasion. The case noted the goal to deter organized crime by allowing private
4     suits. Plaintiff’s case, she argues, fits within this framework, as the misconduct of
      Defendants constitutes a calculated series of actions specifically intended to impair
5
      her legal rights and evade justice.
6

7
      5. Infringement of Civil Rights and Denial of Equal Protection: Plaintiff
      asserts that Defendants’ actions violate her civil rights, particularly her
8     constitutional rights to due process and equal protection, under 42 U.S.C. § 1983.
9     Plaintiff claims that Defendants’ conduct, including witness tampering, evidence
      destruction, and obstruction, deprived her of a fair legal process, infringing upon
10
      her constitutional rights.
11
             Plaintiff cites Monell v. Department of Social Services of New York City,
12
      436 U.S. 658 (1978), which holds that private actors who engage in concerted
13    actions that undermine legal protections can be held liable for civil rights
14
      violations under § 1983. Plaintiff argues that Defendant’s repeated and coordinated
      actions constitute a de facto custom or practice of misconduct, intentionally
15    circumventing judicial processes and targeting her rights. By obstructing her access
16    to a fair and impartial proceeding, Plaintiff contends that Defendants’ actions
      amount to a significant violation of her constitutional rights, warranting relief
17
      under § 1983.
18
      6. Private Right of Action Under RICO (18 U.S.C. § 1964): Plaintiff asserts her
19
      right to civil remedies under 18 U.S.C. § 1964, which allows individuals harmed
20    by racketeering to seek relief. The Supreme Court in Sedima v. Imrex Co., 473 U.S.
21
      479 (1985), confirmed that private plaintiffs harmed by racketeering can invoke
      RICO. Plaintiff argues that Defendants’ predicate acts form a sustained pattern of
22    criminal behavior directly causing her damages, meeting the statutory requirements
23    for relief under § 1964.
24
            The court in U.S. v. Schultz, 333 F.3d 1155 (9th Cir. 2003), highlighted the
25    necessity for rigorous enforcement of laws designed to protect the integrity of
      records and prevent their destruction or alteration. In this case, the evidence
26
      presented indicates potential violations of 18 U.S.C. § 1519 (Destruction,
27    Alteration, or Falsification of Records) alongside allegations of witness tampering
28
      and intimidation. The judicial system has an obligation to act decisively when
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 16
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24        Page 27 of 50 Page ID
                                            #:327


1     allegations arise concerning the tampering or destruction of evidence. As
2     articulated in U.S. v. Schultz, the enforcement of statutes related to record integrity
      is crucial to maintaining the judicial process.
3

4     7. Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048 (9th Cir. 2003): The
      Ninth Circuit in Eminence Capital reaffirmed the preference for resolving cases on
5
      their merits rather than procedural grounds. The court emphasized that
6     amendments should be allowed when made in good faith and supported by
7
      evidence, as long as they don’t cause substantial prejudice to the opposing party.
      This supports Plaintiff’s request to amend, as her motion aims to refine and
8     substantiate her claims, aligning with the court’s preference for a full merits-based
9     review.
10
      The requirement to identify predicate acts supporting a pattern of racketeering is
11    emphasized in Sedima v. Imrex Co., 473 U.S. 479 (1985). Plaintiff lists predicate
      acts, such as witness tampering, showing a continuous pattern of racketeering.
12
      Sedima confirmed that private plaintiffs can pursue civil RICO claims based on a
13    pattern of criminal activity. Plaintiff’s proposed amendment includes RICO claims,
14
      specifying predicate acts that caused harm, in line with Sedima's criteria for civil
      RICO actions.
15

16    8. Importance of Defining Elements of Racketeering: The court emphasized
      the judiciary’s commitment to substantive justice over procedural technicalities,
17
      holding that amendments aimed at clarifying legal theories or incorporating new
18    and relevant factual developments should be granted to ensure a fair trial on the
      merits, Harris v. City of Seattle, 315 F. Supp. 2d 1112 (W.D. Wash. 2004). This
19
      case reinforces that technical deficiencies in initial pleadings should not block a
20    full examination of substantive claims. The evidence shows a pattern of criminal
21
      conduct, including witness tampering and racketeering under 18 U.S.C. § 1961 et
      seq. Plaintiff’s motion aligns with Harris, as the proposed amendments include
22    relevant facts and legal theories for a fair adjudication.
23
      9. Judicial Responsibility to Protect Interstate Commerce: Plaintiff shows that
24
      the enterprise affects interstate commerce, an essential element for RICO claims.
25    H.J. Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229 (1989) recognized that RICO
      claims must affect interstate commerce. Plaintiff details enterprise activities that
26
      crossed state lines, with witnesses and Plaintiff in multiple states, as well as
27    records and observations by investigators, establishing jurisdiction under the anti-
28
      racketeering act. The judicial system must uphold laws protecting interstate
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 17
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24        Page 28 of 50 Page ID
                                            #:328


1     commerce, as racketeering harms both individual cases and the broader economy.
2     Defendants' actions, including witness intimidation and financial coercion, disrupt
      competition and undermine the legal system. Barresi's admissions and references to
3
      former clients show the scope of the harm, affecting businesses, investigators,
4     litigants, and experts.
5
               Arguments for Amendments in Support of Interest of Justice
6

7
             Plaintiff emphasizes the three essential elements of a RICO enterprise: a
      common purpose, an organized structure, and a continuous operational framework.
8     The enterprise is shown to operate with a clear purpose distinct from its predicate
9     acts, thus fulfilling RICO requirements.
10
      1. Nature of the Conduct and Criminal Behavior: The witness declarations
11    document significant acts of intimidation and threats that directly impact the ability
      of witnesses to provide testimony. The Defendant's conduct shows their actions
12
      violate civil rights and represent serious criminal offenses that threaten the judicial
13    process and the safety of individuals involved. The actions described in the witness
14
      statements—including threats, coercion, and harassment—extend civil rights
      violations and indicate a coordinated effort to obstruct justice. Barresi and
15    Waldman created a scheme that witnesses and perceived opponents would
16    alternate between intimidation and offers even when they pledge allegiance to their
      “principle” Depp. The court in Griggs v. Pace American Group, Inc., 170 F.3d 877
17
      (9th Cir. 1999) recognized that allowing amendments serves the interests of
18    justice, a principle that is critical. Plaintiff’s amended complaint specifies multiple
      predicate acts under RICO, including witness tampering, interstate threats, and
19
      alteration of records, each contributing to a cohesive racketeering pattern.
20

21    2. Consistency in Participants and Victims: Defendants repeatedly targeted
      Plaintiff, using consistent tactics and participants, in their schemes as “Hollywood
22
      Fixers” to eliminate potential witnesses, testimonies, and reporting victims, thus
23    establishing a recognizable pattern.
24
      An enterprise in the anti-racketeering act is a group with a purpose, relationships
25    among those associated, and longevity sufficient for the purpose, Boyle v. United
26
      States, 556 U.S. 938 (2009). Plaintiff’s amendment establishes these elements,
      showing an organized enterprise with sustained structure and goals. Evidence
27    demonstrates that Defendants were organized in a manner consistent with a RICO
28    enterprise, each playing a specific role in furtherance of the scheme. A RICO
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 18
     Case 5:24-cv-01930-TJH-DTB     Document 18 Filed 11/06/24       Page 29 of 50 Page ID
                                           #:329


1     enterprise could consist of individuals working together toward a common
2     purpose, United States v. Turkette, 452 U.S. 576 (1981). Plaintiff’s evidence
      supports this structure, demonstrating specific roles each Defendant played
3
      between “Bagman” Barresi and “Consigliere” Waldman. An enterprise has a
4     distinct existence beyond predicate acts, Cedric Kushner Promotions, Ltd. v. King,
      533 U.S. 158 (2001). Plaintiff’s complaint details Defendants’ coordinated actions
5
      and overt acts, showing how Defendants operated as an enterprise. A structured
6     decision-making hierarchy is revealed within the enterprise, from Waldman and
7
      Barresi to unnamed Does enacting tactics, including intimidation, record
      alterations, and vandalism against perceived opponents, victims, Plaintiff, and
8     witnesses to benefit the associated enterprise, indicating systematic collaboration
9     between Defendants.
10
      3. Integrity of the Judicial Process with Witness Statements: The emergence of
11    threats against witnesses highlights the urgent need for a strong judicial response.
      The Ninth Circuit has consistently stressed the importance of protecting those who
12
      testify. In U.S. v. McCarthy, 271 F.3d 1180 (9th Cir. 2001), the court reaffirmed
13    the necessity of addressing witness intimidation to maintain the integrity of the
14
      judicial process. The evidence in this case shows a pattern of intimidation and
      harassment that undermines justice, making the protection of witnesses crucial to a
15    fair legal system. In Nixon v. Warner Communications, Inc., 435 U.S. 589 (1978),
16    the Supreme Court emphasized the need to protect the integrity of the judicial
      process, especially involving witness statements to show a coordinated effort by
17
      Defendants to obstruct justice through witness tampering and intimidation,
18    aligning with serious offenses under 18 U.S.C. § 1512. The Ninth Circuit
      discussed the importance of witness protection 271 F.3d 1180 (9th Cir. 2001).
19

20    4. Judicial Responsibility to Address Threats: The judicial system has an
21
      obligation to respond decisively to protect individuals from intimidation as is
      essential to maintaining a fair and just legal process. In U.S. v. Hively, 437 F.3d
22    900 (8th Cir. 2006), the court reinforced the need for a robust judicial response to
23    intimidation and coercion by acknowledging the nature of interstate threats.
      Among instances, Defendants for years intimidated Taft and other witnesses that
24
      they would be “DEAD,” altered tapes that made violence a threat, forced Taft to
25    see details of death of her mother’s coroner report, admitted to Taft that they
      “Would have Killed for Johnny Depp.” Defendant Barresi told witnesses details of
26
      deaths to intimidate them that he did killings, pressuring them the more they had
27    crucial information to testify against Depp, and purported “Hitman’s violin” in the
28
      context to state that this what he does as a Hollywood Fixer’s role. Licensed
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 19
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24        Page 30 of 50 Page ID
                                            #:330


1     Private Investigator Erik Eichler in Connecticut attests to Rebecca Berry
2     witnessing Barresi "confessed to killing people" and her apprehension
      (Exhibit C, a true and correct copy of Affidavit redacting address, attached
3
      herein). Therefore, the Plaintiff respectfully requests that the court grant the
4     motion, ensuring that justice is served and the integrity of the judicial system is
      upheld.
5

6            In U.S. v. O'Keefe, 128 F.3d 951 (7th Cir. 1997), the court discussed the
7
      standards for proving civil RICO violations and emphasized the broad reach of
      racketeering statutes. The court highlighted the extensive scope of racketeering
8     laws, indicating that activities constituting racketeering can encompass a wide
9     range of criminal behavior that are provided as elements in Plaintiff and witnesses’
      timelines. The evidence presented in this case suggests a pattern of racketeering
10
      activity, including activities to corruptly persuade witnesses and intimidation.
11    For example, in United States v. DiCaro, 772 F.2d 1314 (7th Cir. 1985), the court
      found that witness tampering, including attempts to intimidate and coerce
12
      testimony, constituted predicate acts under the Racketeer Influenced and Corrupt
13    Organizations Act (RICO). Similarly, in the present case, Plaintiff has provided
14
      evidence of a pattern of racketeering activity, including the use of threats and
      manipulation to corruptly influence witnesses and obstruct legal proceedings.
15

16    5. Ongoing Activities and Deterrence of Future Criminal Conduct: Plaintiff’s
      evidence suggests that Defendants’ pattern of criminal activity poses a continued
17
      threat, an essential criterion for RICO liability. Defendants continue and conspire
18    to this day, and do not stop until “dead silence” and elimination, as ongoing
      conduct as part of racketeering continuity. Plaintiff’s evidence suggests
19
      Defendants’ coordinated scheme poses a current and future threat, satisfying the
20    continuity element, Schmuck v. United States, 489 U.S. 705 (1989).
21
             In U.S. v. Schultz, 333 F.3d 1155 (9th Cir. 2003), the Ninth Circuit
22    emphasized the importance of strict enforcement of statutes regarding the
23    destruction and alteration of records. The principles established in U.S. v. Schultz
      underscore the critical importance of strict enforcement of statutes against corrupt
24
      alteration of records in maintaining the integrity of the judicial process. Therefore,
25    the Plaintiff respectfully requests that the court grant the motion to amend the
      complaint, ensuring that justice is served and the integrity of the judicial system is
26
      upheld. Address and detect elements that enhance and facilitate organized crime is
27    part of the civil anti-racketeering act. Granting leave to amend advances this policy
28
      objective by holding Defendants accountable for Defendants’ conduct.
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 20
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24       Page 31 of 50 Page ID
                                            #:331


1

2     6. Judicial Responsibility to Protect the Process: The judicial system has a
      responsibility to act decisively in cases involving obstruction activities and witness
3
      tampering to uphold the integrity of the process. The principles established in U.S.
4     v. McCarthy highlight the critical importance to protect witnesses is paramount in
      preserving the judicial system's functionality.
5

6                                     IV. CONCLUSION
7
      1. Grounds for Granting Leave to Amend
8     o     Alignment with Federal Rule of Civil Procedure 15(a)(2): The Federal
9     Rules advocate for amending pleadings to ensure fair and just adjudication, as Rule
      15(a)(2) directs that leave to amend shall be “freely given when justice so
10
      requires.” This aligns with the principles set forth by the U.S. Supreme Court in
11    Foman v. Davis, 371 U.S. 178 (1962), underscoring that cases should be decided
      based on their substantive merits, not procedural technicalities. The Ninth Circuit
12
      has consistently followed this principle, as demonstrated in AmerisourceBergen
13    Corp. v. Dialysist W., Inc., 465 F.3d 946 (9th Cir. 2006), which supports that
14
      amendments should be allowed barring undue prejudice or futility.

15    o      Promotion of Justice Through Amendment: Plaintiff’s proposed
16    amendments introduce pertinent refined legal theories necessary to thoroughly
      address the claims. These revisions align with the purpose of Rule 15, which aims
17
      to enable a complete and just review by allowing claims to be fully substantiated,
18    thereby fostering a decision grounded in the case’s actual merits. This is consistent
      with the Ninth Circuit’s broad discretion in permitting amendments, particularly
19
      when they substantively advance the adjudication of claims, as reaffirmed in
20    Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001).
21
      2.     Legal Justifications Supporting Amendment
22    o      Judicial Discretion in Favor of Amendment: This Court holds wide
23    discretion to grant leave to amend, especially when it promotes justice. In DCD
      Programs, Ltd. v. Leighton, 833 F.2d 183, 186 (9th Cir. 1987), the Ninth Circuit
24
      highlighted the importance of amendments that permit a comprehensive
25    presentation of all issues, ensuring all relevant facts and arguments are thoroughly
      considered. This aligns with the Ninth Circuit’s policy to encourage amendments
26
      that enhance the substantive review of cases, as further supported by Bonin v.
27    Calderon, 59 F.3d 815, 845 (9th Cir. 1995).
28
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 21
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24       Page 32 of 50 Page ID
                                            #:332


1     o      Clarification and Consistency of Claims: Amendments that clarify or
2     better structure claims are essential to providing the court with a coherent
      framework for fair and efficient adjudication. The Supreme Court’s decision in
3
      Swierkiewicz v. Sorema N.A., 534 U.S. 506, 514 (2002), highlighted that Plaintiffs
4     should be allowed to amend complaints to provide factual detail, thus ensuring
      claims meet substantive standards and avoid dismissal on procedural grounds. The
5
      proposed amendments serve this purpose by precisely organizing allegations,
6     ensuring legal standards are met, and improving the court’s ability to adjudicate the
7
      claims on their merits.

8     o      Sufficiency of Civil Rights Claims Under 42 U.S.C. § 1983 and Civil
9     Rico Act:
       The amended complaint properly categorizes and substantiates constitutional
10
      violations under 42 U.S.C. § 1983, which necessitates that allegations be specific
11    to conduct taken “under color of law.” By clarifying the constitutional violations
      with factual specificity, the proposed amendments satisfy these requirements,
12
      thereby strengthening the complaint’s foundation under § 1983. Precedent in
13    Monell v. Department of Social Services, 436 U.S. 658 (1978), supports Plaintiff's
14
      assertion that claims can be brought against individuals acting in concert to violate
      federal rights.
15

16      Public Policy Supporting Civil Rights and Anti-Racketeering Enforcement
17
      Allowing the amendments supports public policies protecting civil rights and
18    enforcing anti-racketeering laws. Cox v. Louisiana, 379 U.S. 559 (1965), reaffirms
      the judiciary's role in safeguarding civil rights, while the Civil RICO statute (18
19
      U.S.C. § 1961-1968) aims to dismantle criminal enterprises. Granting these
20    amendments promotes accountability and ensures violators are held responsible.
21
      o     Advancing Judicial Economy and Preventing Fragmentation of Claims:
22    Granting leave to amend consolidates all allegations in a single proceeding,
23    promoting judicial efficiency and reducing the potential for fragmented litigation.
      The court in Klamath-Lake Pharm. Ass'n v. Klamath Med. Serv. Bureau, 701 F.2d
24
      1276, 1292 (9th Cir. 1983), affirmed that amendments that clarify claims or reduce
25    redundancy align with judicial objectives of expeditious and streamlined litigation.
26
      o     Ensuring Equitable Treatment and Avoiding Procedural Prejudice:
27    Allowing Plaintiff to amend her complaint protects the integrity of her claims,
28
      ensuring the case is decided on its merits rather than procedural limitations. This
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 22
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24       Page 33 of 50 Page ID
                                            #:333


1     rationale is consistent with Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048
2     (9th Cir. 2003), where the Ninth Circuit emphasized the necessity of permitting
      amendments to prevent unfair prejudice and secure a fair hearing.
3

4     3.      Fulfillment of Pleading Standards Under Rule 8(a):
      o       Plausibility and Specificity Requirements for Federal Claims: Plaintiff’s
5
      amended complaint meets the plausibility standards established in Bell Atlantic
6     Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662
7
      (2009), which require that claims be plausible and sufficiently specific to warrant
      relief. Rule 8(a) underscores supporting procedural fairness by enabling a focused
8     response. The proposed amendments present detailed facts that substantiate
9     Plaintiff’s RICO and § 1983 claims, fulfilling Rule 8(a)'s requirement for a “short
      and plain statement” that shows entitlement to relief.
10

11    o      Judicial Efficiency through Consolidation of Claims: The proposed
      amendments enhance judicial efficiency by consolidating related claims within a
12
      single action. Hardin v. Straub, 490 U.S. 536, 541 (1989), emphasizes the
13    judiciary’s preference for resolving interconnected claims within one proceeding to
14
      prevent duplicative litigation and conserve judicial resources. By addressing all
      related facts and claims in a single amended complaint, this motion aligns with the
15    court’s duty to maximize efficiency and avoid unnecessary expenditures of
16    resources.
17
      o      Timeliness and Lack of Undue Delay: The request for amendment has
18    been made in a timely fashion, reflecting the Plaintiff’s diligence in presenting
      relevant and material facts. In Bowles v. Reade, 198 F.3d 752, 757-58 (9th Cir.
19
      1999), the court underscored that amendments filed without undue delay, and
20    without prejudicing the opposing party, align with the principles of justice. Given
21
      that this amendment was sought promptly following discovery of additional
      relevant details, there is no evidence of delay or lack of diligence, affirming that
22    the request serves judicial efficiency and fairness.
23
      o      Absence of Prejudice to Defendants: A fundamental factor in granting
24
      leave to amend is the absence of undue prejudice to the Defendants. In Heng v.
25    Heitman, 698 F. App'x 332, 333 (9th Cir. 2017), the court found that amendments
      did not cause prejudice when the Defendants were already aware of the underlying
26
      facts of the case. Here, the amendments reinforce and elaborate upon the existing
27    claims, all of which are based on facts already known to the Defendants. The
28
      amendments thus avoid any risk of unfair surprise or prejudice, allowing the
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 23
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24        Page 34 of 50 Page ID
                                            #:334


1     Defendants adequate opportunity to respond.
2
      o      Proper Articulation of Legal Theories and Factual Bases: The amended
3
      complaint is carefully structured to comply with Rule 8(a), providing clarity on
4     legal theories, statutory grounds, and factual foundations. This approach ensures
      Defendants have adequate notice of the claims against them, which supports a fair
5
      and transparent judicial process.
6

7
      4. Federal Rule of Civil Procedure 15(a) – Amendments Before Trial:
      Rule 15(a) establishes that a party may amend its pleading with the court’s leave,
8     stating that leave to amend should be “freely given when justice so requires.” The
9     rule encourages flexibility in pleadings, permitting amendments to ensure that
      cases are resolved on substantive issues rather than procedural technicalities.
10
      Plaintiff seeks to amend Plaintiff’s complaint to more clearly delineate Plaintiff’s
11    legal claims and factual allegations. Rule 15(a) supports this request for
      amendment, emphasizing that allowing Plaintiff to fully present Plaintiff’s case
12
      aligns with the judiciary’s commitment to a fair and thorough adjudication based
13    on the merits.
14
      5. Federal Rule of Civil Procedure 8(a) – General Rules of Pleading:
15    Rule 8(a) requires a concise statement of the claim to provide clear notice of the
16    claims, ensuring fair proceedings. Plaintiff’s proposed amendment will clarify the
      claims, giving Defendants adequate notice and allowing the court to address all
17
      relevant legal issues.
18
      6. 28 U.S.C. § 1343 – Civil Rights and Elective Franchise Jurisdiction:
19
      Section 1343 grants district courts jurisdiction over civil actions for the deprivation
20    of rights under federal authority, especially those under color of law. It ensures
21
      individuals have a federal forum to challenge civil rights violations. Plaintiff’s §
      1983 claims fall within this scope, affirming the court’s jurisdiction over claims
22    involving government abuses of fundamental rights.
23
      7. Protection of Court Access: By allowing amendment, the Court upholds the
24
      fundamental right to access justice, ensuring that intimidation tactics do not
25    undermine this principle. Bounds v. Smith, 430 U.S. 817 (1977) recognized the
      right of access to courts as fundamental. Plaintiff’s claims reinforce the importance
26
      of this right, which Defendants’ actions undermined.
27

28
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 24
     Case 5:24-cv-01930-TJH-DTB      Document 18 Filed 11/06/24        Page 35 of 50 Page ID
                                            #:335


1     8. Conley v. Gibson, 355 U.S. 41 (1957): Established that Defendants must be
2     given fair notice of claims. Plaintiff’s amendment does not raise fundamentally
      new claims but clarifies them, ensuring Defendants remain fairly apprised.
3

4            By addressing conduct against numerous individuals to thwart the judicial
      system, the court demonstrates its commitment to justice which is vital for both the
5
      parties involved and the broader community. Streamlining elements of coercion
6     that enable exploitation beneath shells, as seen in People of the State of California,
7
      vs. Confidential, Inc., Hollywood Research, Inc., et al, and applying federal
      jurisdiction for remedies against multi-state witness interference and alterations of
8     records, is necessary. The court demonstrates its commitment to justice, not only
9     for the parties involved but for society and trust in the process.
             Accordingly, Plaintiff respectfully submits the motion is judicious and
10
      necessary, allowing for a complete adjudication on the merits that aligns with this
11    Court’s commitment to substantive justice. Plaintiff requests that this Honorable
      Court grant the Motion.
12
                                     PRAYER FOR RELIEF
13           Plaintiff’s respectfully requests the Court to grant this Motion for Leave to
14    Amend the Complaint and Continued Injunction Requests. which is substantiated
      by established legal standards that prioritize justice and judicial fairness. By
15
      permitting this amendment, the Court will facilitate a full and fair adjudication of
16    Plaintiff’s claims, ensuring all relevant facts and arguments are appropriately
      addressed, as reinforced by Amerisource Bergen Corp., Owens, and Bonin, which
17
      highlight the Ninth Circuit’s preference for amendments that ensure justice over
18    procedural constraints, and to prevent misconduct designed to obstruct justice and
19
      infringe on one’s rights. Allowing this amendment would ensure the case proceeds
      with the full range of relevant claims and evidence, aligned with the principles of
20    efficiency. Furthermore, Plaintiff respectfully requests the Court issue an
21    injunction and restraining orders against the Defendants, to prevent further
      interference with Plaintiff's legal rights and ensure the integrity of the judicial
22
      process is upheld.
23

24    Dated: November 6, 2024                       ________________________
                                                    Christina Taft
25
                                                    Plaintiff in Propria Persona
26                                                  1700 Ala Moana Blvd Apt 2301
                                                    Honolulu, Hawaii 96815
27                                                  Phone: 0623441766
                                                    Ceo.Taft@Rescue-Social.com
28
      PLAINTIFF’S MOTION TO AMEND COMPLAINT AND CONTINUED INJUNCTION REQUESTS - 25
Case 5:24-cv-01930-TJH-DTB   Document 18 Filed 11/06/24   Page 36 of 50 Page ID
                                    #:336




                       EXHIBIT A
Case 5:24-cv-01930-TJH-DTB   Document 18 Filed 11/06/24   Page 37 of 50 Page ID
                                    #:337
Case 5:24-cv-01930-TJH-DTB   Document 18 Filed 11/06/24   Page 38 of 50 Page ID
                                    #:338
Case 5:24-cv-01930-TJH-DTB   Document 18 Filed 11/06/24   Page 39 of 50 Page ID
                                    #:339
Case 5:24-cv-01930-TJH-DTB   Document 18 Filed 11/06/24   Page 40 of 50 Page ID
                                    #:340
Case 5:24-cv-01930-TJH-DTB   Document 18 Filed 11/06/24   Page 41 of 50 Page ID
                                    #:341
Case 5:24-cv-01930-TJH-DTB   Document 18 Filed 11/06/24   Page 42 of 50 Page ID
                                    #:342




                       EXHIBIT B
     Case 5:24-cv-01930-TJH-DTB           Document 18 Filed 11/06/24             Page 43 of 50 Page ID
                                                 #:343


1

2
                               DECLARATION OF MICHAEL KOUNTZ
3
      STATE OF NEW MEXICO  )
4                           ) SS:
      COUNTY OF BERNALILLO )
5

6     Michael Kountz, being duly sworn, deposes and says:

7     I am a Witness in the matters of Case 5:24-cv-01930-TJH-DTB (Taft v. Paul Barresi, Adam R.
      Waldman, and Does 1-10), currently pending in the U.S. District Court of the Central District of
8
      California.
9
      I am above the age of 18 and reside in New Mexico. At the time of these events, I resided in
10    New Mexico.
11
      The facts stated in this affidavit are true and correct to the best of my knowledge and belief.
12    I have personal knowledge of the facts stated herein, except for those stated upon information
      and belief, and as to those, I believe them to be true.
13
                                                    Events
14

15    1. I am a licensed private investigator in New Mexico. Plaintiff Taft requested help from
      Superior Investigations on May 1, 2023 to locate and interview James Conner regarding an audio
16    recording contained in an edited video by Paul Barresi which claimed to portray a phone call
      between Paul Barresi and James Conner. Taft understood that we adhere to legal practices, that
17
      we have witnesses feel safe to speak, and she was in fear from the coercion by Defendants.
18    Plaintiff Taft was exploited by this tape for some time. I have knowledge there were fearful
      voicemails left to Superior Investigations and Auriella, while she was in Colorado while visiting
19    witness Joe Triscari.
20
      2. It is my belief that the audio by Paul Barresi was exploited on purpose to be used to facilitate
21    tactics similar to blackmail, and use of the audio, inclusive of either with influence on the
      witness and/or edits, was essential for him to do this.
22
      3. I located and interviewed James Conner in June of 2023. James Conner advised me he was a
23
      licensed private investigator. I observed that Conner appeared to be disabled by his own
24    admission.

25

26

27

28                                               PAGE 1 OF 4
     Case 5:24-cv-01930-TJH-DTB          Document 18 Filed 11/06/24             Page 44 of 50 Page ID
                                                #:344


1
      4. James Conner advised that he was not aware of the audio recording contained in edited videos
2
      by defendant Paul Barresi, which contained allegedly James Conner speaking about Plaintiff
3     Christina Taft. James Conner advised that he did not know he was being recorded by Defendant
      Barresi during a phone call to him by Barresi.
4
      5. James Conner advised that he did not give permission to be recorded by Barresi.
5

6     6. James Conner advised me that the audio was taken out of context. He further advised me that
      the audio did not reflect the actual nature of the conversation in which Conner had with
7     Defendant Barresi.
8
      7. James Conner advised me that he did not consent to the use of his voice in that manner and
9     desired help in having the audio and the videos removed.

10    8. James Conner further advised me that the things he was portrayed as saying in the call
      regarding Plaintiff Taft were hearsay.
11

12    9. After leaving the interview with James Conner, I received a phone call from him advising me
      that Paul Barresi was dangerous, and that he was in fear for his life due to his involvement.
13
      10. James Conner then advised that he was flying to his property in Alaska out of fear of reprisal
14
      from Barresi, and that I should be careful about my involvement with Defendant Barresi, as I
15    could face reprisal as well.

16    11. I reviewed the audio tape contained in the video by Barresi. Contained in the audio tape done
      by Paul Barresi of purportedly James Conner, are alterations that he was an FBI agent and that
17
      her mother Victoria Taft had witnessed a mob murder by the Gottis. It distressed Taft about her
18    mother Victoria Taft and her death. James Conner advised me he was never an FBI agent. The
      tape showed images of a man dead allegedly from the mafia, members of the mafia, and a gun.
19    In the beginning of the tape, Barresi discussed a photo of Amber Heard with Plaintiff Taft to
      James Conner, that they were arm in arm, yet at the same time indicating danger to life through
20
      comparing to an assailant. I have information that Plaintiff is still fearful to this day that this
21    audio tape is either to make someone shoot her or to shoot Amber. Or that a death could occur. I
      have information that Defendant Barresi acted aggressively to terrify Taft and others contained
22    in the content of the audio tape.
23
      12. I was informed by Taft that she had an “Executive Protector PI” Juan Brooks for multiple
24    months in 2023 with continuing fear and activities by Defendants.

25

26

27

28                                               PAGE 2 OF 4
     Case 5:24-cv-01930-TJH-DTB           Document 18 Filed 11/06/24            Page 45 of 50 Page ID
                                                 #:345


1

2
      13. Taft stated her mother had connections to Hollywood and although she’d been in social
3     circles, never had any relation to these groups. Taft feared this was an underlying threat to her
      constantly, that she should be afraid of a murder of her or other people. James did not mention
4     Gotti to me. Taft showed a photo that Barresi released referring to her and other witnesses of
      himself with Victoria Gotti where he wrote “Gambino family gathering” and Johnny Depp
5
      within the context. While I was on a call with Auriella, Auriella asked Taft if this had to do with
6     Depp, and she was hesitant to say a case connection.

7     14. I have personal knowledge that Aurelia Barajas and I had a telephone interview with Jesse
      Adams at the Department of Consumer Affairs against Barresi's coercion. Mr. Adams accepted
8
      our report.
9
      15. On September 05th, 2023, I received an email from Plaintiff Taft containing a screenshot of a
10    text message chain from the phone number (908) 656-5712, which she advised was Defendant
      Paul Barresi’s phone number. I observed the following message, portrayed in the screenshot to
11
      have been sent from the above number to Plaintiff Taft on Nov 7, 2022: “Stacy is your sister”
12    and sexual expletives. Taft advised that the text referred to Stacy Hagman in Texas and
      requested that I interview her. She had compliments for Stacy and was fearful that Barresi could
13    access her. I was able to locate a phone number for Stacy, but have not been able to reach her
      through it.
14

15    16. On October 19th, 2023, I spoke with a sister of James Conner, who previously owned Argus
      Private Investigations and Security Agency in Texas. She did not want interference with her
16    brother, and approved that Barresi should not be licensed and that he was under investigation.
      In October 2023, I supported that Taft should have a restraining order against Barresi and I still
17
      support that she should have a restraining order. I have knowledge that Taft lives in Hawaii for
18    her safety.

19    17. Plaintiff Taft advised in emails to me that Defendant Barresi continued to harass her during
      2024, sending an email stating “Your Brother is a Monster,” referring to probably Sean Conner,
20
      who may be Taft’s half brother. I have knowledge that this email contained audio tapes that
21    Barresi has, including one with Defendant Adam Waldman. I had previously tried reaching out
      to Sean Conner but was unable to make contact.
22

23

24

25

26

27

28                                               PAGE 3 OF 4
Case 5:24-cv-01930-TJH-DTB   Document 18 Filed 11/06/24   Page 46 of 50 Page ID
                                    #:346
Case 5:24-cv-01930-TJH-DTB   Document 18 Filed 11/06/24   Page 47 of 50 Page ID
                                    #:347




                       EXHIBIT C
Case 5:24-cv-01930-TJH-DTB   Document 18 Filed 11/06/24   Page 48 of 50 Page ID
                                    #:348
Case 5:24-cv-01930-TJH-DTB   Document 18 Filed 11/06/24   Page 49 of 50 Page ID
                                    #:349
     Case 5:24-cv-01930-TJH-DTB            Document 18 Filed 11/06/24           Page 50 of 50 Page ID
                                                  #:350


1                                            PROOF OF SERVICE
2
      On the date set forth below, I served the foregoing document described as:
3
          1. Per L.R. 7-5, Brief with Memorandum in Support of Plaintiff’s Motion to Amend
4            Complaint and Continued Injunction Requests and Points and Authorities
          2. Plaintiff’s Motion to Amend Complaint and Continued Injunction Requests
5
          3. Proposed Order on Plaintiff’s Motion to Amend Complaint and Continued Injunction
6            Requests

7     BY NOT MORE THAN 30 DAYS; via Mail and Email, Local Rules, (L.R. 5-3), on the
8
      interested parties in this action as follows:
9
                              MELISSA Y. LERNER
10                            Attorneys for Defendant PAUL BARRESI
11

12    By Mail:
13    MELISSA Y. LERNER
14
      LAVELY & SINGER PROFESSIONAL CORPORATION
      ATTORNEYS AT LAW
15    2049 CENTURY PARK EAST, SUITE 2400
      LOS ANGELES, CALIFORNIA 90067-2906
16

17
      By Electronic Service:
18
      mlerner@lavelysinger.com
19

20
      [X] BY FEDERAL EXPRESS: I am “readily familiar” with the practice of collection and
      processing correspondence for Federal Express. Under that practice it would be deposited with
21    Federal Express on that same day with all costs fully prepaid in the United States, in the ordinary
22    course of business.
      [X] ELECTRONIC SERVICE: I served the on the parties listed via electronic service in
23
      accordance with the applicable rules (Local Rule 5-3).
24

25    Dated: November 6, 2024                              _________________________
                                                           Lucy Hana
26

27

28
      PROOF OF SERVICE - 1
